Case 2:01-cr-20163-.]DB Docum n `
AO 245 S (Ftev. 4/90)(N.D.A|a. rev.) Sheet 1 - Judgment in a C?mitne§|l_%gse F||ed 04/26/05 Page 1 Of 2 Page|D 112

UN|TED STATES D|STFilCT COUFiT ai.: ?,
Western District of Tennessee 0 H__, _
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Piamrirf, W.D. o'F riv§ iJ@i_Mpg'[g
VS. Case Number: 2:OiCF-`i20163-B
LlsA sTEvaaT

Defendant.

JUDGMENT AND CO|V|N||TN|ENT ORDER

ON SUPERV|SED FlELEASE VlOLATlON
(For Offenses Committed On or After November 1, 1987)

The detendant, Lisa Stewart, Was represented by Bruce Griffey, Esq.

lt appearing that the defendant, Who was convicted on April 3, 2002 in the above styled cause
and vvas placed on Supervlsed Flelease for a period of three (3) years and has violated the terms of
Supervised Fielease.

lt is hereby ORDERED and ADJUDGED that the Supervised Fielease of the defendant be revoked
and that the defendant loe committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of eight (8) months.

FUF{THEF{MORE, no further term of Supervised Release Will follow said period of incarceration.
‘l'he defendant is allowed to remain released on present bond.

. Q~ .
Signed this the ZC= day of Aprll7 2005.

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Defendant`s SS No.‘. XXX-XX-XXXX

Defendant's Date of Birth: 6/20/1977

U.S. l\/larsha| l\lo.: 17860-076

Defendant's lVlai|ind Address'. 2617 Old Brownsville Road. Ftipley, TN 38063

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Notice of Distribution

This notice confirms a copy of the document docketed as number 100 in
ease 2:0]-CR-20163 Was distributed by faX, mail, or direct printing on
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Bruee I. Griffey

LAW OFFICES OF BRUCE I. GRIFFEY
142 North Third St.

3rd Floor

Memphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

